a Ly

Debtor 1

Debtor 2
(Spouse, if fifi

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

Case number
(if known)

Case 21-60032 Document3 Filed in TXSB on 04/08/21

information to identify your case:

Willliams
Last Name

Elaine
Middle Name

Anna
First Name

Page 1 of 5

 

ng) First Name Middle Name Last Name

 

 

C1 Check if this is an amended filing

 

Official Form 122A-1Supp

Statement of Exemption from Presumption of Abuse Under § 707(b)(2)

12/15

 

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe
that you are exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are
filing together, and any of the exclusions in this statement applies to only one of you, the other person should complete a
separate Form 122A-1 if you believe that this is required by 11 U.S.C. § 707(b)(2)(C).

Identify the Kind of Debts You Have

Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
personal, family or household purpose.” Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary

1.

Petition fo

WJ No.

Cl Yes.

r Individuals Filing for Bankruptcy (Official Form 101).

Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then

submit this supplement with the signed Form 122A-1.

Go to Part 2.

Determine Whether Military Service Provisions Apply to You

2.

3.

Official Form 122A-1Supp

Are youa

EC] No.

disabled veteran (as defined in 38 U.S.C. § 3741(1))?
Go to line 3.

(] Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?

oO No.

10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
CO No.

Go to line 3.

[] Yes. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3.
Then submit this supplement with the signed Form 122A-1.

Are you or have you been a Reservist or member of the National Guard?

Complete Form 122A-1. Do not submit this supplement.

[] Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1)

O

No. Complete Form 122A-1. Do not submit this supplement.

[] Yes. Check any one of the following categories that applies:

[] ! was called to active duty after September 11, 2001,
for at least 90 days and remain on active duty.

[1 _! was called to active duty after September 11, 2001,
for at least 90 days and was released from active duty on
which is fewer than 540 days before |
file this bankruptcy case.

[) |am performing a homeland defense activity for at
least 90 days.
[1] | performed a homeland defense activity for at

least 90 days, ending on , which is
fewer than 540 days before | file this bankruptcy case.

Statement of Exemption from Presumption of Abuse Under § 707(b)(2)

If you checked one of the categories to the left, go to

Form 122A-1. On the top of page 1 of Form 122A-1, check
box 3, The Means Test does not apply now and sign

Part 3. Then submit this supplement with the signed Form
122A-1. You are not required to fill out the rest of Official
Form 122A-1 during the exclusion period. The exclusion
period means the time you are on active duty or are
performing a homeland defense activity, and for 540 days
afterward. 11 U.S.C. § 707(b)(2)(D)(ii).

If your exclusion period ends before your case is closed,
you may have to file an amended form later.

page 1
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Check one box only as directed in this
form and in Form 122A-1Supp:

    

Fill in this information to identify your case:

  

Debtor 1 Anna Elaine Williams

First Name Middle Name Last Name [yj 1. There is no presumption of abuse.

Debtor 2
(Spouse, if filing) First Name Middie Name Last Name

 

(2. The calculation to determine if a presumption
of abuse applies will be made under Chapter 7
Means Test Calculation (Official Form 122A-2).

  
 

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS
3. The Means Test does not apply now because

of qualified military service but it could apply
later.

 

Case number
(if known)

 

 

    
 

 

[1] Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income 04/20

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known). if you believe that you
are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form
122A-1Supp) with this form.

Calculate Your Current Monthly Income

1. What is your marital and filing status? Check one only.

C Not married. Fill out Column A, lines 2-11.
( Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
[] Married and your spouse is NOT filing with you. You and your spouse are:
(Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

L] Living separately or are legally separated, Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you
declare under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you
and your spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

 

Fill.in the average monthly income that y you received from all sources, derived during the 6 full months before you file this
bankruptcy case. 11.U.S.C.§ 101(10A), For example, if you are filing on September 15, the 6-month period would be March 1. through
August 31. !f the amount-of your monthly income varied during the 6 months, add the income for all 6 months. and divide the total by 6. Fill.

~ dpthe result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
income from that property in one column only. Ifyou have nothing to.report for any line, write $0:in the space:

Column. A. © Column B
Debtor.1. Debtor 2 or
non-filing: spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions
(before all payroll deductions).

 

3. Alimony and maintenance payments. Do not include payments from a spouse
if Column B is filled in.

 

4. All amounts from any source which are regularly paid for household
expenses of you or your dependents, including child support. Include
regular contributions from an unmarried partner, members of your household,
your dependents, parents, and roommates. Include regular contributions from
a spouse only if Column B is not filled in. Do not include payments you listed
on line 3.

 

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 1
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Debtor 1 Anna Elaine Willliams Case number (if known)
Column A -Column.B
Debtor.1 . Debtor 2 or -

non-filing spouse
5. Net income from operating a business, profession, or farm
Debtor 1 Debtor 2

Gross receipts (before all
deductions)

 

Ordinary and necessary operating — _~

expenses
Copy

Net monthly income from a business, here =»
profession, or farm

 

6. Net income from rental and other real property
Debtor 1 Debtor 2

Gross receipts (before all
deductions)

 

Ordinary and necessary operating — _
expenses

 

Copy
Net monthly income from rental or here =>
other real property

 

7. Interest, dividends, and royalties

 

8. Unemployment compensation

 

Do not enter the amount if you contend that the amount received was a
benefit under the Social Security Act. Instead, list it here: ........00.. y

FOP YOUP SPOUSE... cece eeneeeretseeneescrseseanscaaseseesnersesees

9. Pension or retirement income. Do not include any amount received that
was a benefit under the Social Security Act. Also, except as stated in the
next sentence, do not include any compensation, pension, pay, annuity, or
allowance paid by the United States Government in connection with a
disability, combat-related injury or disability, or death of a member of the
uniformed services. If you received any retired pay paid under chapter 61
of title 10, then include that pay only to extent that it does not exceed the
amount of retired pay to which you would otherwise be entitled if retired
under any provision of title 10 other than chapter 61 of that title.

 

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 2
Case 21-60032 Document 3 Filed in TXSB on 04/08/21 Page 4 of 5

Debtor 1 Anna Elaine Willliams

 

10. Income from all other sources not listed above. Specify the source and
amount. Do not include any benefits received under the Social Security Act;
payments made under the Federal law relating to the national emergency
declared by the President under the National Emergencies Act
(50 U.S.C. 1601 et seq.) with respect to the coronavirus disease 2019
(COVID-19); payments received as a victim of a war crime, a crime against
humanity, or international or domestic terrorism; or compensation, pension,
pay, annuity, or allowance paid by the United States Government in
connection with a disability, combat-related injury or disability, or death of a
member of the uniformed services. If necessary, list other sources on a
separate page and put the total below.

Case number (if known)

Colum A. =. Column B
_Debtor1... - Debtor 2 or

non-filing spouse

 

 

Total amounts from separate pages, if any.

11. Calculate your total current monthly income.
Add lines 2 through 10 for each column.

Then add the total for Column A to the total for Column B.

Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

12a. Copy your total current monthly income from liN@ 11... eee eeereseres

Multiply by 12 (the number of months in a year).

12b. The result is your annual income for this part of the form.

13. Calculate the median family income that applies to you. Follow these steps:

 

Fill in the state in which you live.

 

 

Fill in the number of people in your household.

 

 

 

Fill in the median family income for your state and size of household.................

 

 

 

 

 

+ =

 

 

 

 

daseecensaeseneeees Copy line 11 here = 12a.

12b.

To find a list of applicable median income amounts, go online using the link specified in the separate
instructions for this form. This list may also be available at the bankruptcy clerk's office.

44. How do the lines compare?

14a. [J] Line 12bis less than or equal to tine 13. On the top of page 1, check box 1, There is no presumption of abuse.

Go to Part 3. Do NOT fill out or file Official Form 122A-2.

Total current
monthly income

 

 

12

 

 

 

 

 

 

 

 

14b. [J Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.

Go to Part 3 and fill out Form 122A-2.

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income

page 3
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Debtor 1 Anna Elaine Willliams Case number (if known)

Eira sign Below

 

By signing here, | declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

 

 

J
f fi ¢
X YA. Cy OR X
Anna Elaine Willliams, Debtor 1 Signature of Debtor 2
Date
MM /DD/YYYY

 

If you checked line 14a, do NOT fill out or file Form 122A-2.

If you checked line 14b, fill out Form 122A-2 and file it with this form.

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income

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